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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  ALEJANDRO ESPINOZA,                                          CASE NO.

         Plaintiff,

  vs.

  KILWIN'S CHOCOLATES FRANCHISE, INC.
  a Foreign for Profit Corporation

        Defendant,
  ____________________________________________/

                            COMPLAINT FOR DECLARATORY AND
                        INJUNCTIVE RELIEF, AND JURY TRIAL DEMAND

         Plaintiff, ALEJANDRO ESPINOZA, through undersigned counsel, sues Defendant,

  KILWIN'S CHOCOLATES FRANCHISE, INC. a foreign corporation d/b/a KILWIN’S

  (hereinafter referred to as “KILWIN’S”), for declaratory and injunctive relief, and damages, and

  alleges as follows:

  1)     This action is brought under Title III of the Americans With Disabilities Act (“ADA”), that

  is codified in 42 U.S.C. §§12181-12189.

  2)     This action is also brought pursuant to 28 C.F.R. Part 36.

  3)     This Court has jurisdiction over this case based on federal question jurisdiction, as provided

  in 28 U.S.C. §1331 and the provisions of the ADA.

  4)     Furthermore, because this Court has jurisdiction over the ADA claim, the Court has

  supplementary jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

  5)     Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA Amendments Act

  of 2008, 42 U.S.C. §12101 (“ADAAA”).
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  6)     Defendant, KILWIN’S is a foreign limited liability company authorized to do business and

  doing business in the State of Florida.

  7)     Defendant, KILWIN’S is a company that sells chocolates, sweets and other desserts. There

  is a retail location in Miami-Dade County.

  8)     Plaintiff seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

  9)     Plaintiff desires to prevent discrimination and demands equal access to Defendant’s

  internet website to purchase chocolate fudge, truffles and other items.

  10)        Plaintiff also seeks declaratory and injunctive relief for trespass against the Plaintiff’s

  computer. The computer is Plaintiff’s personal property, and a claim for trespass attached to same.

  11)        The Defendant is also liable for compensatory damages to Plaintiff as a result of the

  trespass to Plaintiff’s personal property.

  12)        The remedies provided under common law for trespass are not exclusive, and same may

  be sought in connection with suits brought under the ADA.

  13)         Venue is proper in the Southern District of Florida, Miami-Dade Division, since all

  events, actions, injuries, and damages complained of herein occurred in the Southern District of

  Florida.

  14)        Furthermore, Plaintiff is a resident of Miami-Dade County which falls within the Miami

  Division of the Southern District of Florida.

  15)        At all relevant times, Plaintiff is and was visually impaired and has Leber Congenital

  Amaurosis since birth that substantially impairs Plaintiff’s vision.

  16)        Plaintiff’s visual impairment interferes with his day-to-day activities and causes

  limitations in visualizing their environment. As such, Plaintiff is a member of a protected class
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  under the ADA, 42 U.S.C. § 12102(1) - (2), the regulations implementing the ADA set forth at 28

  CFR §§ 36.101, et seq., and in 42 U.S.C. 3602, §802(h).

  17)       Plaintiff regularly uses the computer, but he needs the assistance of special software for

  visually impaired persons. The software that he uses is screen reader software that is readily

  available commercially.

  18)      Defendant is a private entity which owns and operates retail locations. The stores are

  open to the public, and each of Defendant’s locations is defined as a “public accommodation"

  within the meaning of Title III of the ADA because Defendant is a private entity which owns

  and/or operates “[A] bakery, grocery store, clothing store, hardware store, shopping center, or

  other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

  19)      Defendant’s website is a place of public accommodation per 42 U.S.C. Section

  12181(7)(E) because it’s an extension of Defendant’s brick and mortar stores. The public is able

  to, among other things, view the products available at defendant’s locations, buy chocolate, sweets

  and desserts through defendant’s website, subscribe to Defendant’s "My Kilwins" Club, create an

  account and register to track orders, and learn the story behind Defendant’s brand.

  20)       Since the Defendant’s website is a public accommodation, it must comply with the

  requirements of the ADA. The website cannot discriminate against individuals with disabilities.

  21)      Plaintiff is a customer of Defendant who is and was interested in purchasing chocolate

  fudge through Defendant’s website and at Defendant’s stores and visiting Defendant’s brick and

  mortar locations.

  22)      Plaintiff is not able to visit the physical locations without the assistance of a family

  member or caretaker, so the ability to purchase merchandise on Defendant’s website for delivery

  to his home is important to his as an alternative when he is not able to visit the Defendant’s stores.
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  23)      The website also services Defendant’s physical stores by providing information on its

  brand, sales campaigns, and other information that Defendant is interested in communicating to its

  customers about its physical locations.

  24)       Since the website allows the public the ability to view the products available at

  defendant’s locations, buy chocolate, sweets and desserts through defendant’s website, subscribe

  to Defendant’s "My Kilwins" Club, create an account and register to track orders, and learn the

  story behind Defendant’s brand, the website is an extension of, and gateway to, Defendant’s

  physical stores. By this nexus, the website is characterized as an intangible service, privilege and

  advantage provided by a place of public accommodation as defined under the ADA, and thus an

  extension of the services, privileges and advantages made available to the general public by

  Defendant through its retail brick and mortar stores.

  25)      Because the public can view and purchase Defendant’s merchandise that is also offered

  for sale by Defendant at its physical stores, subscribe to Defendant’s newsletter, create an account

  and register to track orders, create a wish list, and learn the story behind Defendant’s brand,

  advertising campaigns, the website is an extension of and gateway to the physical stores, which

  are places of public accommodation pursuant to 42 U.S.C. § 12181(7)(E). As such, the website,

  as an intangible service, privilege and advantage of Defendant’s brick and mortar locations, must

  be fully accessible and in compliance with the ADA, must not discriminate against individuals

  with disabilities, and must not deny full and equal enjoyment of the same services, privileges and

  advantages afforded to the general public both online and at the physical locations.

  26)      At all times material hereto, Defendant was and still is an organization owning and

  operating the website located at https://www.kilwins.com/ Since the website is open through the

  internet to the public as an extension of the retail stores, by this nexus the website is an intangible
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  service, privilege and advantage of Defendant’s brick and mortar locations, and Defendant has

  subjected itself and the associated website it created and maintains to the requirements of the ADA.

  27)       Plaintiff is and/or has been a customer who is interested in patronizing, and intends to

  patronize, Defendant’s physical stores, and purchase Defendant’s merchandise, sign up for

  Defendant’s “My Kilwin’s Club” and create an account through the website and at Defendant’s

  physical stores.

  28)       The opportunity to shop Defendant’s merchandise from his home is an important

  accommodation for Plaintiff because traveling outside of the home as a visually disabled individual

  is often a difficult, hazardous, frustrating, confusing, and frightening experience. Defendant has

  not provided its business information in any other digital format that is accessible for use by blind

  and visually disabled individuals using screen reader software.

  29)        Like most consumers, Plaintiff accesses numerous websites at a time to compare

  merchandise and prices. Plaintiff may look at several dozens of sites to compare features and

  prices.

  30)       During the months of April and May, 2022, Plaintiff attempted on several occasions to

  utilize the website to browse through the merchandise to educate himself as to the merchandise

  and with the intent to make a purchase through the website or at one of Defendant’s physical stores.

  31)       Places of public accommodation are not just brick-and-mortar structures. The United

  States Department of Justice and the binding case law increasingly recognize that private entities

  are providing goods and services to the public through websites that operate as places of public

  accommodation under Title III.
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  32)       Defendant is required to make reasonable accommodations to its websites for individuals

  with disabilities to allow them to participate in web-based promotions and obtain goods or services

  via the Internet just as sighted persons are able to do.

  33)        Plaintiff utilized Chrome Vox (“Screen Reader Software”) to attempt to purchase

  chocolate on Defendant’s website. However, the Plaintiff was not able to freely and fully use

  Defendant’s website because it contains access barriers that make it inaccessible to persons with

  disabilities, and for which there is no reasonable accommodation for the Plaintiff.

  34)       A person who can see can enjoy the benefits and privileges provided by Defendant’s

  website that include, but are not limited to viewing the products available at defendant’s locations,

  buy chocolate and desserts through defendant’s website, subscribe to Defendant’s "My Kilwins"

  Club, create an account and register to track orders, and learn the story behind Defendant’s brand.

  35)        A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s website

  and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination due to

  Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.

  36)        The Department of Justice has provided useful guidance regarding website accessibility

  under the ADA, and the binding and persuasive case law in this district has applied the Web

  Content Accessibility Guidelines (“WCAG”) 2.0 or 2.1 to determine accessibility.

  37)        Defendant’s website does in fact fail the following WCAG 2.0-AA Compliance standards

  and it does not provide sufficient alternatives to serve the equivalent purpose:

  Violations that prevent users from completing desired action

        •   Violation: Functionality of the content is not operable through a keyboard
            interface.

                   Note/Proof: The site becomes unresponsive repeatedly when trying to navigate it
                   using the keyboard
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                  Applicable WCAG 2.1 Standard at Issue: Standard 2.1.1 Keyboard (Level A).

                  Nature of the Violation: required by WCAG 2.1’s Standard 2.1.1 Keyboard.




  38)       Furthermore, Defendant’s website does not contain accessibility assistance that would

  direct a visually impaired person like the Plaintiff to someone who he can contact for assistance,

  questions, or concerns.

  39)       Thus, Defendant has not provided full and equal enjoyment of the services, facilities,

  privileges, advantages, and accommodations provided by and through the website, in

  contravention of the ADA.

  40)      On information and belief, Defendant is, and at all times has been, aware of the barriers

  to its website which prevent individuals with disabilities who are visually impaired from

  comprehending the information within same, and is also aware of the need to provide access to all

  persons who visit its site.

  41)       Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs alleged

  in this Complaint, such that this suit for declaratory judgment and injunctive relief is his only

  means to secure adequate and complete redress from Defendant’s discriminatory practices in

  connection with use of its website.

  42)       Notice to Defendant is not required because of Defendant’s failure to cure the violations.

  43)       Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C.

  §§ 2201 and 2202.

  44)       Plaintiff has retained the undersigned attorneys to represent his in this case, and has

  agreed to pay them a reasonable fee for their services.
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                               COUNT I – VIOLATION OF THE ADA

  45)        Plaintiff realleges paragraphs 1 through 44 as if set forth fully herein.

  46)        Defendant owns and operates the https://www.kilwins.com/website, and is a public

  accommodation subject to the ADA pursuant to 42 U.S.C. §12181(7)(E).

  47)        Defendant’s website is inaccessible to persons with disabilities like the Plaintiff, who is

  visually impaired. Plaintiff was not able to enjoy full and equal access to the information and

  services that Defendant has made available to the public on its website, in violation of 42 U.S.C.

  §12101. et seq, and as prohibited by 42 U.S.C. §12182 et seq.

  48)        Defendant’s website is not in compliance with the ADA.

  49)        Defendant has made no reasonable accommodation for Plaintiff’s disability.

  50)        A cursory review of a portion of the Defendant’s website revealed that the website is not

  accessible to persons like the Plaintiff that are visually impaired as required by law and for which

  there is no sufficient alternative on Defendant’s website, including:


  Violations         that     prevent       users      from       completing        desired     action




        •   Violation: Functionality of the content is not operable through a keyboard
            interface.

                   Note/Proof: The site becomes unresponsive repeatedly when trying to navigate it
                   using the keyboard

                   Applicable WCAG 2.1 Standard at Issue: Standard 2.1.1 Keyboard (Level A).

                   Nature of the Violation: required by WCAG 2.1’s Standard 2.1.1 Keyboard.




  51)       Due to Defendant’s failure to provide an ADA compliant website, the Plaintiff has been

  injured since he has been denied full access to Defendant’s website.
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  52)        As a result, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28

  C.F.R. §36.303 to correct the inaccessibility that leads to discrimination against visually impaired

  persons.

  WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for the

  following relief:

  A.            A declaration that Defendant’s website is in violation of the ADA;

  B.             An Order requiring Defendant, by a date certain, to update its website, and continue

  to monitor and update its website on an ongoing basis, to remove barriers in order that individuals

  with visual disabilities can access, and continue to access, the website and effectively communicate

  with the website to the full extent required by Title III of the ADA;

  C.             An Order requiring Defendant, by a date certain, to clearly display the universal

  disabled logo within its website, wherein the logo [1] would lead to a page which would state

  Defendant’s accessibility information, facts, policies, and accommodations. Such a clear display

  of the disabled logo is to ensure that individuals who are disabled are aware of the availability of

  the accessible features of the website;

  D.            An Order requiring Defendant, by a date certain, to provide ongoing support for web

  accessibility by implementing a website accessibility coordinator, a website application

  accessibility policy, and providing for website accessibility feedback to insure compliance thereto.

  E.             An Order directing Defendant, by a date certain to evaluate its policies, practices and

  procedures toward persons with disabilities, for such reasonable time to allow Defendant to

  undertake and complete corrective procedures to its website;
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  F.            An Order directing Defendant, by a date certain, to establish a policy of web

  accessibility and accessibility features for its website to insure effective communication for

  individuals who are visually disabled;

  G.          An Order requiring, by a date certain, that any third-party vendors who participate on

  Defendant’s website to be fully accessible to the visually disabled;

  H.           An Order directing Defendant, by a date certain and at least once yearly thereafter, to

  provide mandatory web accessibility training to all employees who write or develop programs or

  code for, or who publish final content to, Defendant’s website on how to conform all web content

  and services with ADA accessibility requirements and applicable accessibility guidelines;

  I.           An Order directing Defendant, by a date certain and at least once every three months

  thereafter, to conduct automated accessibility tests of its website to identify any instances where

  the website is no longer in conformance with the accessibility requirements of the ADA and any

  applicable accessibility guidelines, and further directing Defendant to send a copy of the twelve

  (12) quarterly reports to Plaintiff’s counsel for review.

  J.            An Order directing Defendant, by a date certain, to make publicly available and

  directly link from its website homepage, a statement of Defendant’s Accessibility Policy to ensure

  the persons with disabilities have full and equal enjoyment of its website and shall accompany the

  public policy statement with an accessible means of submitting accessibility questions and

  problems.

  K.          An award to Plaintiff of his reasonable attorney’s fees costs and expenses pursuant to

  42 U.S.C. §§12181-12189, and pursuant to such other laws and statutes that may apply, and further

  relief as the Court deems just and equitable.
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  [1]



                                       COUNT II – TRESPASS

  53)         Plaintiff realleges paragraphs 1 through 44 as if set forth herein.

  54)      Defendant’s website contains software analytics. Since Plaintiff has navigated

  Defendant’s website as stated herein, Plaintiff’s computer and the personal information and

  browsing history stored therein, has suffered a trespass by Defendant.

  55)       Plaintiff never consented to and was unaware that Defendant’s website was placing

  software on his computer.

  56)      Defendant committed common law trespass in violation of Florida law against Plaintiff

  because Plaintiff did not consent to the placement of tracking and information securing software

  on his personal computer, which was done without his knowledge and consent.

  57)       Defendant’s trespass has damaged Plaintiff by affecting the condition and value of his

  computer.

  58)      On its website, Defendant has an internet privacy policy section that can only be accessed

  by clicking a barely visible section at the bottom of the page called “Cookies Policy”, providing

  that they use cookies and similar technologies to collect a consumer’s information and they obtain

  non-public information from their users for their own advertising and marketing purposes by

  placing software on its website that collects a website user’s preferences and internet browsing

  habits as follows:
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        Privacy Policy
        This Policy
        At Kilwin’s Chocolates Franchise, Inc. (“KCF”), your privacy is important to us, which
        is why we have developed this online privacy policy (this “Policy”). This Policy explains
        how KCF and its affiliates (“we,” “us,” and “our”) protect your privacy when you use the
        websites that display this Policy (our “Site(s)”).
        Scope of this Policy
        This Policy applies only to the personal information collected through our Site, including
        the following Sites:

           •   http://www.kilwins.com
           •   http://www.kilwinsfranchise.com

        This Policy is part of and incorporated into the Terms of Use published on our Site.

        To review our Terms of Use, click on the link marked “Terms of Use” at the bottom of each
        page of our Site.
        Effective Date of This Policy
        This Policy is effective as of June 23, 2011.
        Questions About This Policy
        If you have any questions regarding this Policy or our privacy practices:

           •   Send an e-mail to webmaster@kilwinsfranchise.com and write “Privacy Policy”
               in the subject line;
           •   Write to us at: 1050 Bay View Road, Petoskey, Michigan 49770-9006; or
           •   Call (231) 758-3901.

        Your Consent to This Policy
        By using one of our Site, you are agreeing to the collection, use and disclosure of your
        personal information as described in this Policy. If you do not consent to the collection,
        use and disclosure of your personal information as described in this Policy, you may not
        use our Site.
        What is “personal information”?
        As used in this Policy, the term “personal information” means information that identifies
        you personally, either alone or in combination with other information available to us.
        Privacy Notices
        This Policy may be supplemented or amended from time to time by “Privacy Notices”
        posted on the pages on which we collect your personal information. Generally, Privacy
        Notices provide details about the personal information we collect on those pages, why we
        need that information, and choices you may have about the ways we use that information.
        Click-Through Agreements
        We may supplement or amend this Policy by the terms of a “click-through” agreement
        between you and us. For example, when you register to use a password-protected area of
        a Site, you may be asked to agree to special terms governing your use of that area of the
        Site. In such cases, you will be asked to expressly consent to the special terms, for example,
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        by checking a box or clicking a button marked “I agree.” If the terms of the “click-
        through” agreement are different than the terms of this Policy, the terms of the “click-
        through” agreement will supplement or amend this Policy, but only with respect to the
        matters governed by the “click-through” agreement.
        This Policy May Change
        We reserve the right to update or modify this Policy, at any time and without prior notice,
        by posting the revised version of the Policy on our Site. The changes will only apply to the
        personal information we collect after we have posted the revised Policy on our Site. Your
        use of any one of our Site following any such change constitutes your agreement that all
        personal information collected from or about you through our Site after the revised Policy
        is posted will be subject to the terms of the revised Policy. To alert you to changes in this
        Policy, we will provide a notice at the top of this page for at least 30 days after the new
        effective date. Unless the change is a minor change (such as a change in our contact
        information or in our list of Site) or a non-substantive change (such as the reformatting of
        our Policy), we will also post notices on our home pages and/or on the relevant pages of
        our Site for 30 days after the new effective date to alert you to the change. You may access
        the current version of this Policy at any time by clicking on the link marked “Privacy
        Policy” at the bottom of each page of our Site.
        What Personal Information Do We Collect on Our Site and How Do We Use It?
        There are several ways that we may collect personal information on our Site:

        Information You Provide. We collect the personal information you knowingly and
        voluntarily provide (about yourself and others) when you use one of our Site, for example,
        the information you provide when you register or update your member profile, purchase a
        gift or gift card, place an on-line order, submit a resume, or ask to be added to our mailing
        list. We use the personal information you volunteer through our Site to provide the
        information, products and services you request, to personalize your experience on our Site,
        to provide customer service, and for any other purpose we identify in a specific Privacy
        Notice.

        We do not add your personal information to our mailing list unless you request to be placed
        on our mailing list. In some parts of our Site, you can submit information about other
        people. For example, if you order a gift or gift card or certificate online and want it sent
        directly to the recipient, you must submit the recipient's name and address. We use this
        information to send your gift to the recipient. We also store this information so that you
        do not have to reenter it the next time you send a gift to the same recipient. We do not use
        this information to add the recipient to our mailing lists. In the future, you may be able to
        send a message to a friend by entering your friend’s name and e-mail address. We use the
        information you provide to personalize and send the message to your friend. We do not
        use this information to add your friend’s name to our mailing lists.

        We may include in our Site “Career Opportunity” areas where you can search for open
        positions and apply for a job with us. If we do so, then when you submit an employment
        application, we ask you to provide certain personal information, including, but not limited
        to, your name, address, telephone number, e-mail address, social security number, driver’s
        license number, and employment history. If you send us an e-mail to inquire about a
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        position, the information we receive is the information you include in your cover letter,
        resume and e-mail message (we will also automatically receive your e-mail
        address). Please note that by submitting your information regarding employment
        opportunities to us, you authorize us to transmit and store your information in our
        recruitment database, to circulate that information as necessary for the purpose of
        evaluating your qualifications for job vacancies at KCF and/or its subsidiaries, and to
        contact you about a possible employment opportunity. If you are hired by KCF or one of
        its subsidiaries, the information you provide during the recruiting process will become part
        of our employee records.

        Information Provided by Others. From time to time, we may supplement the information
        you give us with information from third parties, including our franchisees and data
        brokers. For example, we may supplement your profile with demographic and preference
        information that is supplied to us for each zip code in our database. By supplementing
        your profile, we are better able to provide product recommendations and special offers
        that will be of genuine interest to you. We may also use this additional information to
        further personalize our Site and improve your experience while you are on our Site.

        Information Sent to Us by Your Web Browser. We collect information that is sent to us
        automatically by your Web browser. This information typically includes the IP address of
        your Internet service provider, the name and version of your operating system, the name
        and version of your browser, the date and time of your visit, and the pages you visit. The
        information we receive depends on the settings on your browser. Please check your
        browser if you want to learn what information your browser sends or how to change your
        settings. Generally, we use this information to create statistics that help us improve our
        sites and make them more compatible with the technology used by our visitors.

        The information provided by your browser should not identify you personally. However,
        we may review our server logs for security purposes, such as detecting intrusions into our
        network. If we suspect criminal activity, we might share our server logs – which contain
        visitors’ IP addresses – with the appropriate investigative authorities who could use that
        information to trace and identify individuals. In addition, if you access this site through
        an e-mail we have sent you, or if you’ve created a “user identity” during one of your visits,
        we may link the information provided by your browser to information in our records that
        identifies you personally.
        With Whom Do We Share Personal Information?
        Our Affiliates. The KCF family of businesses consists of KCF and its affiliate, Kilwins
        Quality Confections, Inc. (“KQC”). We share personal information within the KCF family
        of businesses for use in accordance with the Policy. For example, if you apply for a job at
        KCF, we may share your resume with our subsidiaries for the purpose of evaluating your
        qualifications for job vacancies and to contact you about a possible employment
        opportunity with one of our subsidiaries. If you order products from us, we may share it
        with KQC for the purpose of fulfilling your order.

        Service Providers, In General. We share personal information collected through our Site
        with companies and organizations that perform services on our behalf, for example,
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        companies that provide support services to us (such as credit card processing services,
        data storage services, and web hosting services) or that help us market our products and
        services (such as third-party e-mail marketing companies). These third parties are
        required by contract to use the personal information we share with them only to perform
        services on our behalf and to treat your personal information as strictly confidential.

        Franchisees. Many of our stores are owned and operated by our franchisees. We do not
        currently share the information we collect through this Site with our franchisees, except to
        provide the products, services or information you request, or to respond to a question or
        concern about service or products at one of our stores. As just one example, if you place
        an order at www.kilwins.com, we will share the information needed to fill your order and
        provide customer service to you with the appropriate store location.

        Joint Promotions. We sometimes offer content (for example, products or promotions) that
        is sponsored by or co-branded with third parties. By virtue of these relationships, these
        third parties may obtain the personal information that you submit when you participate in
        the activity. We will post a Privacy Notice on the pages on which you provide personal
        information, providing details such as the identity of the third party and the choices you
        may have. In some cases, we may link to the third party’s privacy policy so that you will
        know what privacy promises the third party has made.

        Business Transfers. Information submitted to our Site will become part of our normal
        business records. Your personal information may be transferred to another company
        (either an affiliate or an unrelated third party) that has acquired the stock or assets of
        KCF, one of our affiliates, or one of our operating divisions, for example, as the result of
        a sale, merger, reorganization, or liquidation. If such a transfer occurs, the acquiring
        company’s use of your personal information will still be subject to this Policy and the
        privacy preferences you’ve expressed to us. In other words, the acquiring company will
        “step into our shoes” and use your personal information only as we would have been
        permitted to do under this Policy.

        Protection of Our Site and Others. We may disclose personal information you provide
        through our Site when we, in good faith, believe disclosure is appropriate to comply with
        the law (or a court order or subpoena); to prevent or investigate a possible crime, such as
        fraud or identity theft; to enforce or apply our Terms of Use and other agreements; to
        protect the rights, property or safety of KCF and/or its affiliates, our users or others; or to
        protect your vital interests.
        Unsubscribing From Our Mailing List
        If you subscribe to our mailing list, we will send you e-mail and other communications
        containing information or offers we think will interest you. You can choose not to receive
        future promotional e-mails or communications from the KCF family of brands by using
        one of the methods described in the next section of this Policy (Reviewing and Updating
        Your Information). In addition, you may “unsubscribe” from receiving future promotional
        e-mails by using the “opt-out” procedure described in the next e-mail you receive or use.
        Reviewing and Updating Your Information
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        You can review, correct, update, or, in some cases, request the deletion of your personal
        information at any time in the following ways:

           •   Send an e-mail to webmaster@kilwinsfranchise.com, writing "Privacy Policy" in
               the subject line
           •   Write to us at: 1050 Bay View Road, Petoskey, Michigan 49770-9006.
           •   Click on “Member Profile” at www.kilwins.com Click on “Contact Us” on our
               Site.

        If you access your “Member Profile,” you will be able to review, correct or update your
        personal information yourself. You will also be able to “opt-in” or “opt-out” of our
        mailing list.

        If you ask us to correct, update, or delete your personal information, you must give us
        enough information so that we can locate you in our databases. Although we will honor
        some requests to delete information, there are circumstances under which we will not do
        so.
        Links to Other Site Operated by Third Parties
        Our Site may have links to third-party websites that we do not control. This Policy applies
        only to personal information collected on and through our Site. It does not apply to
        personal information collected on third-party websites. If you access other websites
        through a link on this Site, please take a few minutes to review the terms of use and privacy
        statement posted on each website you visit.
        Security
        SSL Protection. When you log in or begin the checkout process within our Site, we require
        that a secure connection between your computer and our server be established. We use a
        technology called Secure Socket Layers (SSL), an encryption technology that works with
        most browsers. A secure connection is maintained until you leave the secure area of the
        Site. Although we use SSL encryption to safeguard the confidentiality of personal
        information as it travels over the Internet, "perfect security" does not exist on the Internet,
        and we can not guarantee the safety of transmitting personal information over the
        Internet.

        Password Protection. Certain areas of our Site may be password protected. You are
        responsible for maintaining the confidentiality of your own passwords. We have the right
        to assume that anyone accessing our Site using a login name and a password assigned to
        you has the right to do so. You will be solely responsible for the activities of anyone
        accessing our Site using a password assigned to you, even if the individual is not, in fact
        authorized by you. You agree to notify us promptly at webmaster@kilwinsfranchise.com
        if you have reason to believe that your password may have been compromised or used
        without authorization.
        Children
        Our Site is not directed nor targeted to children under the age of 13. We do not use the
        Site to knowingly solicit data from or market to children under the age of 13. If you are
        under the age of 13, please do not provide us with any personal information. If we learn
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         that someone under 13 has provided personally identifiable information to this Site, we
         will use reasonable efforts to remove that information from our databases.

  59)      Due to Plaintiff’s disability, he could not understand Defendant’s website and he could

  not give informed consent to Defendant’s installation of data and information tracking software

  on his computer. Defendant also could not give informed consent to Defendant’s collection of his

  browsing history and the placement of analytics on his computer.

  60)      Thus, Plaintiff has no adequate remedy at law to redress Defendant’s knowing and

  reckless disregard for Plaintiff’s right to exclude others from his computer and determine which

  programs should be installed and operated on his computer.

  WHEREFORE, Plaintiff demands judgment against Defendant for Plaintiff’s damages, interest,

  costs, and such further relief as the Court deems just and equitable.




                                         Request for Jury Trial

  61)       Plaintiff requests a jury trial.


                                                Submitted by:

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